        CASE 0:06-cr-00185-PJS-FLN            Doc. 75     Filed 09/12/06     Page 1 of 6




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


United States of America,                                   Criminal No. 06-185-01 (PJS/FLN)

                Plaintiff,

                v.                                          REPORT AND
                                                            RECOMMENDATION
Rosbel Lopez,

                Defendant.
                ___________________________________________________

            Clifford Wardlaw, Assistant United States Attorney, for the Government.
                              Thomas Dunnwald, for Defendant.
                 ___________________________________________________

       THIS MATTER came before the undersigned United States Magistrate Judge on August

30, 2006, on Defendant’s Motion to suppress fruits of search and seizure [#53]. At the hearing, the

Court received testimony from Special Agent Eric Smith of the Drug Enforcement Administration.

Neither party submitted any exhibits during the course of the hearing. The matter was referred to

the undersigned for Report and Recommendation pursuant to 28 U.S.C. § 636 and Local Rule 72.1.

For the reasons which follow, this Court recommends that Defendant’s Motion to suppress fruits of

search and seizure [#53] be denied.

                                   I. FINDINGS OF FACT

       Special Agent Eric Smith (hereinafter “Agent Smith”) of the Drug Enforcement

Administration (hereinafter “DEA”) testified at the hearing on this matter. Agent Smith testified

that Defendant Rosbel Lopez was also known as Alfredo Araiza Morales. Agent Smith testified

that, in May 2006, the DEA received information from a Confidential Informant (hereinafter “CI”).

Agent Smith testified that the CI was someone that he was unfamiliar with before the initiation of

this investigation. The CI was recently released from jail and the CI informed the DEA that he met
        CASE 0:06-cr-00185-PJS-FLN             Doc. 75      Filed 09/12/06      Page 2 of 6




Tapia Meraz while in jail. The CI informed the DEA that Tapia Meraz offered to provide the CI

with a contact to purchase methamphetamine. The CI informed the DEA that, shortly after he was

released from jail, the CI received an unsolicited telephone call from Defendant. Agent Smith

testified that the CI received a monetary benefit for cooperating with the DEA. Agent Smith

testified that he confirmed that the CI was recently incarcerated with Tapia Meraz.

       Agent Smith testified that, after the CI informed the DEA that Defendant contacted him,

Agent Smith instructed the CI to arrange a meeting with Defendant to see what Defendant had to

offer in terms of narcotics sales. On May 16, 2006, the CI met with Defendant and another

individual in a public parking lot in Minneapolis to discuss further purchases of methamphetamine.

At this meeting the CI was given a sample of the methamphetamine that was for sale and this sample

tested positive. Agent Smith testified that he and other agents were at the scene during this meeting,

that the CI was wired and that audio recordings were made of this meeting. On May 22, 2006, the

CI and Defendant spoke by telephone and arranged to meet at the Rainbow Foods grocery store on

West Lake Street in Minneapolis. Within two to three hours of this telephone call Defendant arrived

in Minneapolis and met the CI at the Rainbow parking lot where he sold the CI one-half pound of

methamphetamine. The CI turned over the methamphetamine to DEA agents immediately after the

controlled buy occurred. Agent Smith testified that he and other agents were present at the scene

during the controlled buy and that the CI was wired during the controlled buy. Agent Smith testified

that an audio recording was made of the events that transpired between Defendant and the CI during

the controlled buy on May 16, 2006.

       After the successful purchase of methamphetamine on May 22, 2006, Defendant and the CI

conversed several times via telephone and negotiated the purchase of two pounds of


                                                  2
        CASE 0:06-cr-00185-PJS-FLN             Doc. 75     Filed 09/12/06      Page 3 of 6




methamphetamine. On June 6, 2006, Defendant and the CI arranged another meeting at the

Rainbow Foods parking lot in Minneapolis for the sale of two pounds of methamphetamine. After

the meeting was arranged, the Willmar Police Department located Defendant and followed him as

he made his way through western Minnesota in a roundabout route to Minneapolis. On his way to

Minneapolis Defendant met up with his co-defendant, who was driving a tan Chevy Blazer. Both

vehicles were followed by police; however, police subsequently lost sight of the tan Chevy Blazer.

       As soon as Defendant arrived in Minneapolis he met again with his co-defendant in the tan

Chevy Blazer. After this meeting Defendant and the co-defendant proceeded to the parking lot of

Rainbow Foods separately. Defendant then contacted the CI and told the CI to meet with his co-

defendant in the tan Blazer. The CI refused and told Defendant that he wanted to meet with

Defendant to consummate the deal. Shortly thereafter Defendant called the CI back and told the CI

that there were too many people in the Rainbow Foods parking lot and Defendant told the CI to meet

him at the Kmart parking lot on West Lake Street in Minneapolis. After Defendant placed this call

he and his co-defendant followed each other to the Kmart parking lot. There were a total of five

individuals in the two vehicles. Once the two vehicles reached the Kmart parking lot Defendant

moved from his vehicle into the tan Chevy Blazer and all the other individuals in the two vehicles

entered the Kmart store. Defendant then called the CI and told the CI to meet him in the tan Blazer

in the Kmart parking lot.

       The CI arrived at the Kmart parking lot and sat in the Blazer with Defendant. Agent Smith

testified that the plan was to arrest Defendant once the CI saw that the methamphetamine was

present in the vehicle. Agent Smith testified that the CI got out of the tan Chevy Blazer, sat in the

CI’s vehicle, and called Agent Smith to inform Agent Smith that the methamphetamine was located


                                                 3
        CASE 0:06-cr-00185-PJS-FLN             Doc. 75      Filed 09/12/06      Page 4 of 6




in the tan Chevy Blazer. Agent Smith testified that, upon learning this information, he called other

officers on the scene and they arrested Defendant in the tan Chevy Blazer. Inside the console the

DEA agents discovered two pounds of methamphetamine. Agents also seized the cell phone used

by Defendant to arrange the methamphetamine deals with the CI.

                                II.   CONCLUSIONS OF LAW

       Defendant now moves to suppress the evidence seized by the DEA agents when he was

arrested without a warrant. In order to establish probable cause to effectuate a warrantless arrest,

“the facts and circumstances within the officers’ knowledge must be sufficient to justify a

reasonably prudent person’s belief that the suspect has committed or is committing an offense.”

United States v. Roberson, 439 F.3d 934, 939 (8th Cir.2006). When “reviewing the . . . officers’

determination of probable cause, [the Court] look[s] at the totality of the circumstances and give[s]

due weight to the inferences that can be drawn from the officers’ experience.” Id. Probable cause

is “based on the collective knowledge of all the officers involved.” United States v. Briley, 726 F.2d

1301, 1305-06 (8th Cir.1984).

       In the present case, the facts and circumstances in the officers’ collective knowledge were

sufficient to justify a reasonably prudent person’s belief that Defendant had committed the crime

of an illegal sale of narcotics because Defendant sold the CI one-half pound of methamphetamine

on May 22, 2006. Therefore, the DEA Agents had probable cause to arrest Defendant in the Kmart

parking lot on June 6, 2006.

       The Fourth Amendment prohibits law enforcement officers from conducting a search unless

the search is permitted by a search warrant, issued by a neutral judicial officer. However, there are

exceptions to the warrant requirement, and one such exception relates to a search incident to a lawful


                                                  4
        CASE 0:06-cr-00185-PJS-FLN             Doc. 75      Filed 09/12/06      Page 5 of 6




arrest. In Chimel v. California, the Supreme Court held that “[t]here is ample justification . . . for

a search of the arrestee's person and the area ‘within his immediate control’-construing that phrase

to mean the area from within which he might gain possession of a weapon or destructible evidence.”

395 U.S. 792, 763 (1969). In order to effectuate a lawful search incident to arrest, the search must

be confined to the area of the arrestee’s immediate control and the search must be

“contemporaneous” with the arrest. United States v. Morales, 923 F.2d 621, 627 (8th Cir.1991).

       In the present case, the search of the tan Chevy Blazer was a valid warrantless search

incident to Defendant’s valid arrest. Defendant was arrested while he was inside the tan Chevy

Blazer and, as noted above, that arrest was valid because it was based on probable cause to believe

that Defendant previously sold one-half pound of methamphetamine to the CI. Once a valid arrest

was effectuated, the DEA agents were permitted to search the area within Defendant’s immediate

control. As Defendant was arrested inside of the tan Chevy Blazer, the console of the Blazer and

the passenger compartment of the Blazer were within his immediate control. The search of the tan

Chevy Blazer was conducted contemporaneous with Defendant’s arrest. As such, the search of the

tan Chevy Blazer was a valid search incident to arrest, and the Court recommends that Defendant’s

Motion to suppress fruits of search and seizure [#53] be denied

                                  III.   RECOMMENDATION

       Based upon all the files, records and proceedings herein, IT IS HEREBY

RECOMMENDED that Defendant’s Motion to suppress fruits of search and seizure [#53] be

DENIED.



DATED: September 11, 2006                             s/ Franklin L. Noel
                                                      FRANKLIN L. NOEL

                                                  5
        CASE 0:06-cr-00185-PJS-FLN             Doc. 75      Filed 09/12/06       Page 6 of 6




                                                       United States Magistrate Judge


Pursuant to the Local Rules, any party may object to this Report and Recommendation by filing with
the Clerk of Court and serving on all parties, on or before September 28, 2006, written objections
which specifically identify the portions of the proposed findings or recommendations to which
objection is being made, and a brief in support thereof. A party may respond to the objecting party*s
brief within ten days after service thereof. All briefs filed under the rules shall be limited to 3,500
words. A judge shall make a de novo determination of those portions to which objection is made.

Unless the parties are prepared to stipulate that the District Court is not required by 28 U.S.C. § 636
to review a transcript of the hearing in order to resolve all objections made to this Report and
Recommendation, the party making the objections shall timely order and cause to be filed by
September 28, 2006 a complete transcript of the hearing.

This Report and Recommendation does not constitute an order or judgment of the District Court,
and it is, therefore, not appealable to the Circuit Court of Appeals.




                                                  6
